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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    FEDERAL TRADE COMMISSION,
                                                         Case No.
                          Plaintiff,                     1:20-cv-03590 (JEB)
                 - v. -
                                                         HON. JAMES E. BOASBERG
    META PLATFORMS, INC.,

                          Defendant.


        NON-PARTIES’ POSITION STATEMENT ON THE PROTECTIVE ORDER 1

        In its subpoenas to non-parties, Defendant Meta Platforms, Inc. seeks almost unlimited

amounts of extremely sensitive documents and data regarding the non-parties’ businesses. In

addition, many non-parties produced competitively sensitive information to the FTC during the

investigatory phase of this matter, which the FTC has already produced to Meta on an outside-

counsel-only basis. Disclosure to Meta’s in-house employees of the information already provided

to Meta, or the information called for by the subpoenas, risks serious harm to competition,

innovation, and the non-parties, which compete against, are customers of, and/or negotiate against

Meta.

        Accordingly, the undersigned Non-Parties respectfully request that the Court adopt

Plaintiff’s Protective Order proposals to: (1) prohibit Meta’s in-house counsel from accessing

Highly Confidential Information unless Meta shows a particularized need; and (2) allow only four

designated Meta in-house counsel access to Confidential Information, provided that they are not

engaged in Competitive Decision-Making for two years after their access to Confidential



1
     “Non-Parties” refers to the non-parties filing this statement: LinkedIn Corporation; Match
     Group, Inc.; Oracle Corporation; Pinterest, Inc.; Reddit, Inc.; Snap Inc.; and Twitter, Inc.
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Information. 2 The Non-Parties also request that the Court clarify certain other provisions of the

proposed Protective Order.

I.       Meta’s Non-Party Subpoenas Demand Almost Limitless Amounts of Extremely
         Sensitive Information

         Meta is casting an extraordinarily wide net for extremely sensitive materials from non-

parties. Meta has served 91 non-party subpoenas so far and identified almost 200 additional non-

parties to whom Meta likely will also issue subpoenas. (See Dkt. 105 at 2).

         Based on the subpoenas that the Non-Parties are aware of, the breadth of Meta’s subpoenas

is stunning.3 The subpoenas call for documents and data revealing the Non-Parties’ most sensitive

business information—including product pricing determinations, strategic plans, new product

offerings, and potential acquisitions—dating back over twelve years, to January 1, 2010. The

subpoenas contain 44 to 65 separately numbered requests for materials, many of which contain

multiple and detailed sub-parts. Collectively, the requests encompass numerous competitively

sensitive business activities.

         A few examples of the dozens of individual requests for competitively sensitive

information also demonstrate the overbreadth and burden of Meta’s subpoenas:

         •   “All Documents referring or relating to how pricing for Your [the Non-Party’s]
             Products is set . . .”

         •   “All Documents referring or relating to the Company’s [Non-Party’s] strategy to
             acquire new users for, monetize, and scale each of its Products . . .”

         •   “All Documents referring or relating to competition with Meta, the substitutability of
             Your Products with Meta’s Products, Diversion of users and Advertisers between Your



2
     This Position Statement incorporates the definitions set forth in Plaintiff’s proposed Protective
     Order (Dkt. 105-1).
3
     Non-Party Reddit, Inc. has not to date received a subpoena in this matter, but it did produce
     competitively sensitive information to the FTC during the investigatory phase of this matter.



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           Products and Meta’s Products, or comparisons between Your Products and Meta’s
           Products . . .”

       •   “All Documents concerning actual or potential competition, including for user time or
           attention, You [the Non-Party] face relating to each of Your Products . . .” with any
           company, including these—among other—subparts:

           o “All presentations or strategic Documents relating to the Sales, Marketing, market
             share, quality metrics, competitive landscape, or competitive positioning of the
             [Non-Party] or any of its competitors (including competitors for user time and
             attention) . . .”

           o “All Documents showing Your strategies and efforts to attract users from other
             Products . . .”

       •   “[F]or each year and for each of Your Advertising Products,” the name, address, and
           total spend of the top 250 advertisers broken out by sub-categories, and the proportion
           of advertising customers whose total spend falls into certain categories.

       •   Documents concerning all actual or potential acquisitions by the non-party and actual
           or potential acquisitions of, or investments in, the non-party.

       •   Documents seeking unlimited information regarding research and development for
           cloud computing architecture and cloud computing services as well as the amount
           spent, pricing plans, average reliability of the cloud computing services to five decimal
           points, total number of outages and downtime per month of cloud computing services
           along with the five largest customers each year from 2010 to the present ranked in order
           of business significance, the amount of bandwidth or transmission capacity provided
           on a monthly, quarterly and annual basis to each of these five largest customers,
           systems and processes for releasing patches and updates to cloud services customers,
           and improvements to cloud computing services, among other requests.

       •   Documents and data assessing cybersecurity and privacy practices and policies,
           including communications, presentations, audits and reports from outside security
           contractors provided in the regular course of business.

       To illustrate the overwhelming breadth, consider a few of the above examples: For

companies like the Non-Parties, a request for “all documents” “referring and relating to” “the

Company’s strategy to acquire new users for, monetize, and scale each of its Products,”

“concerning actual or potential competition, including for user time and attention,” and “how

pricing for Your Products is set” over a time period of more than twelve years, amounts to a request

for millions of documents. And there are many similarly broad requests in the subpoenas.



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       In addition to being highly burdensome, the subpoenas are also highly invasive. The types

of information called for—including the Non-Parties’ pricing, user-acquisition, and competitive

strategies—are among the most competitively sensitive documents that the Non-Parties possess.

A key theme in the FTC’s complaint is that Meta has used data to compete unfairly. See Dkt. 75-

1 at 1 (Am. Compl.) (“Facebook has systematically tracked potential rivals and acquired

companies that it viewed as serious competitive threats.”). In a lawsuit that alleges Meta misused

data, Meta’s subpoenas create a dangerous risk of further misuse.

       In addition, for many of the requests, Meta demands “all documents referring or relating”

to the subject matters of the request, meaning the scope of what is sought is almost unbounded.

See Sonnino v. Univ. of Kan. Hosp. Auth., No. 02-2576-KHV-DJW, 2004 WL 764085, at *5 (D.

Kan. Apr. 8, 2004) (“This Court has recognized on many occasions that the use of such omnibus

terms as ‘relating to’ or ‘regarding’ can render a discovery request overly broad on its face.”). And

Meta broadly defines many terms in the subpoenas to further expand their scope.

       Given these factors and the competitively sensitive nature of the requested materials, it is

especially important that the Protective Order guards against the improper disclosure of the non-

parties’ competitively sensitive information. It would contravene the purpose of this lawsuit to

allow Meta liberal access to confidential information that it could use, even inadvertently, to

disadvantage competitors, gain unfair advantage in negotiations, and harm consumers.

II.    Meta’s In-House Counsel Should Be Prohibited from Accessing Highly Confidential
       Information Absent a Particularized Showing of Need

       The Non-Parties ask that the Court adopt Plaintiff’s proposal to prohibit Meta’s in-house

counsel from accessing Highly Confidential Information unless Meta shows a particularized need

that materially outweighs the risk of harm to the non-party and to the public interest. (Dkt. 105-1

§§ D.1, E).




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       The “particularized need” requirement is critical for safeguarding against the risks of

disclosure by Meta’s in-house counsel. As the D.C. Circuit has recognized, disclosure of Highly

Confidential Information to in-house counsel without adequate protections poses serious risks

because in-house lawyers’ “continuing employment often intimately involves them in the

management and operation of the corporation of which they are a part.” FTC v. Exxon Corp., 636

F.2d 1336, 1350 (D.C. Cir. 1980). Thus, as this court has repeatedly recognized, the in-house

lawyer’s role in the client’s business decisions creates a heightened “risk that such [confidential]

information will be used or disclosed inadvertently . . .” United States v. Aetna, Inc., No. 16-cv-

01494, 2016 WL 8738420, *5 (D.D.C. Sept. 5, 2016) (quoting FTC v. Sysco Corp., 83 F. Supp.

3d 1, 3 (D.D.C. 2015)).

       Here, misuse or inadvertent disclosure of Highly Confidential Information by Meta’s in-

house counsel would be especially harmful because the information at issue would allow Meta to

gain an unfair advantage in competition, commercial negotiations, and other business activities.

See, e.g., Aetna, 2016 WL 8738420, at *5-6 (providing defendant Aetna’s in-house counsel access

to other competitor insurers’ confidential information “undoubtedly risks giving [Aetna] an unfair

advantage in competition in the insurance marketplace,” and providing access to healthcare

providers’ confidential information “could provide [Aetna] with a significant advantage in future

negotiations” with providers).

       Previously, many non-parties produced competitively sensitive information during the

investigatory phase of this matter. Now, Meta’s subpoenas seek volumes of additional Highly

Confidential Information pertaining to multiple products, strategies, pricing, and future innovation,

including in a market in which Meta is alleged to unlawfully hold monopoly power. Given the

quantity and sensitivity of the Non-Parties’ Highly Confidential Information and that non-parties,




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including the undersigned Non-Parties, are competitors, customers, and/or partners of Meta, their

information requires vigilant protections from inappropriate disclosure to Meta.

       Because of the importance of safeguarding non-party information, courts regularly impose

strict limitations on in-house counsel’s access, especially in antitrust cases. See, e.g., Stipulated

Protective Order, United States v. Google, No. 20-cv-03010, Dkt. 98 ¶ 17 (D.D.C. Jan. 21, 2021)

(requiring defendant to “stat[e] with particularity the need for” disclosure to designated in-house

counsel and allowing disclosure only upon consent of the producing party or the court’s finding

that such “particularized need for access . . . outweighs the risk of harm to the [producing party]

or the public interest”); United States v. Hillsdale Cmty. Health Ctr., No. 15-cv-12311, Dkt. 49 at

¶ 13 (E.D. Mich. Dec. 15, 2015) (prohibiting disclosure of Highly Confidential Information to

defendant’s in-house counsel). Thus, placing strict limitations on Meta’s access is critical here

given the nature of the allegations against Meta and the type of information at issue.

       Meta seeks to allow two in-house counsel not engaged in Competitive Decision-Making

access to Highly Confidential Documents without any showing of particularized need. (Dkt. 113-

2 § D.1; see also Dkt. 113-2 at 21-22 (deletion of § E)). According to Meta, the particularized need

requirement could impose a burden on the Court because it could create disputes that the Court

would need to resolve. (Dkt. 113 at 7-8). But the particularized need requirement has not created

any burden on the Court in Google. As Meta acknowledges, the public docket in Google shows

that Google has not brought any disputes concerning the particularized need requirement to the

Court. It is not surprising that Google’s in-house counsel have not sought access to Highly

Confidential materials given that their outside counsel have complete access to these materials,

just as Meta’s outside counsel will have here.




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       Finally, Meta’s proposal would allow Meta’s in-house counsel to retain Highly

Confidential exhibits and other documents after the conclusion of the litigation. (Dkt. 113-2 § H).

For the reasons set forth above, Meta should not be allowed access to any Highly Confidential

materials, much less be allowed to retain those materials, after the litigation concludes.

III.   Meta’s Designated In-House Counsel Should Be Prohibited from Engaging in
       Competitive Decision-Making for Two Years After Accessing Confidential
       Information

       The Non-Parties request that the Court adopt Plaintiff’s proposal to allow only four

designated Meta in-house counsel access to Confidential Information, provided that they are not

engaged in Competitive Decision-Making for two years after their access to Confidential

Information. (Dkt. 105-1 § D.2(d)).

       This two-year restriction on Competitive Decision-Making is essential for safeguarding

against the risk of harmful use or disclosure of non-parties’ Confidential Information. Meta’s

subpoenas seek to collect Confidential Information from essentially the entire technology industry.

Without the two-year restriction, Meta’s in-house counsel can examine this compilation of

Confidential Information one day and the next day be responsible for weighing in on strategy, key

investment decisions, customer relationships, contract negotiations, and other competitively

sensitive activities relating to non-parties. The potential for misuse—intentional or inadvertent—

is especially high as non-parties and the Court have little or no ability to monitor what Meta’s in-

house counsel does with the Confidential Information that they receive. Moreover, as the D.C.

Circuit has recognized, “it is very difficult for the human mind to compartmentalize and selectively

suppress information once learned, no matter how well-intentioned the effort may be to do so.”

Exxon, 636 F.2d at 1350 (denying Exxon’s in-house counsel access to possible competitor’s

confidential competitively sensitive information). Thus, the “inescapable reality” is that, once

Meta’s in-house counsel “learns the confidential information,” they “cannot rid [themselves] of


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the knowledge [they have] gained” and “cannot perform a prefrontal lobotomy on [themselves]”

after their involvement in this litigation. FTC v. Advocate Health Care Network, 162 F. Supp. 3d

666, 670 (N.D. Ill. 2016) (citing cases).

IV.    Plaintiff’s Proposed Treatment of Confidential and Highly Confidential Information
       Will Not Impair Meta’s Defense

       Plaintiff’s proposals regarding the treatment of Confidential and Highly Confidential

Information will in no way prejudice Meta’s ability to litigate this case. Meta’s experienced outside

counsel will have complete access to all Confidential and all Highly Confidential materials. These

attorneys are highly competent antitrust litigators who are familiar with Meta’s business and can

advise Meta on the litigation, its chances for success, and other matters—all without divulging

Highly Confidential Information. Should Meta dispute any non-party’s confidentiality

designations, Meta’s outside counsel are fully capable of availing themselves of the procedures set

forth in Plaintiff’s proposal for challenging confidentiality designations. (Dkt. 105-1 § C). And,

while any challenges are pending, Meta’s outside counsel will continue to have full access to all

documents produced by non-parties.

       Moreover, Plaintiff’s proposals do not impose blanket restrictions. Rather, they allow for

access by certain of Meta’s in-house counsel, subject to appropriate safeguards against harmful

disclosure. With regard to Confidential Information, Plaintiff’s proposal allows for appropriate

access of this information by four designated Meta in-house litigators who are responsible for

overseeing this litigation and who do not engage in Competitive Decision-Making at Meta. (Dkt.

105-1 § D.2(d)) (“Four In-House Counsel of Defendant with responsibilities for the litigation of

this Action . . .”). With regard to Highly Confidential Information, to the extent the Court later

determines that certain Highly Confidential documents need to be disclosed to an in-house

designee, Plaintiff’s proposal allows the Court to grant access on a document-by-document basis




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upon Meta’s showing of a particularized need that outweighs the confidentiality interest of the

producing party. (Dkt. 105-1 § E).

V.     The Court Should Clarify That Non-Parties May Designate Confidentiality Levels On
       a Document-by-Document Basis

       With regard to the manner of confidentiality designations (Dkt. 105-1 §§ B.2, B.6; Dkt.

113-2 §§ B.2, B.6), the Court should clarify that non-parties can designate confidentiality levels

on a document-by-document basis rather than a page-by-page basis. Especially in light of Meta’s

expansive subpoenas, determining and marking confidentiality on a page-by-page basis likely

would be exceedingly burdensome for non-parties. Moreover, page-by-page confidentiality

designations would have almost no value to Meta as their outside counsel can view all documents

and because only a small percentage of documents produced in this matter are likely to ultimately

be used in the litigation. More particularized designations can be prepared for trial, if and as needed.

       Attached as Exhibit A is the Non-Parties’ mark-ups to Plaintiff’s proposed Protective

Order, which clarify ambiguity within the document with respect to the manner of confidentiality

designations. (See Ex. A at pp. 7, 12-13). This mark-up also proposes other technical corrections

and minor modifications. (See Ex. A at pp. 3, 7-9, 11-13, 24-25).




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                                         CONCLUSION

         For the reasons set forth above, the Non-Parties respectfully request that the Court adopt

Plaintiff’s proposals regarding the treatment of Confidential and High Confidential Information.

The Non-Parties also request that the Court conform the Protective Order to reflect the edits shown

in Exhibit A.



Dated:          March 16, 2022                       Respectfully submitted,

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